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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

VICKI TIMPA, INDIVIDUALLY,             §
AND AS REPRESENTATATIVE OF             §
THE ESTATE OF ANTHONY                  §
TIMPA, AND CHERYLL TIMPA               §
INDIVIDUALLY AS NEXT FRIEND            §
OF K.T., A MINOR CHILD,                §
      Plaintiffs,                      §       CIVIL ACTION NO.
                                       §
v.                                     §       3:16-CV-03089-N
                                       §
THE CITY OF DALLAS, JOHN DOE #1-       §
3, LONE STARR MULTI-THEATRES,          §
LTD D/B/A NEW FINE ARTS, JOHN          §
DOE #4, AND JOHN DOES #5,              §
      Defendants.                      §
                                       §
         DEFENDANT CITY OF DALLAS’S MOTION PURSUANT
     TO RULE 12(b)(6) TO DISMISS PLAINTIFFS’ FEDERAL CLAIMS
       ALLEGED AGAINST IT IN PLAINTIFFS’ FIRST AMENDED
                  COMPLAINT, AND BRIEF IN SUPPORT

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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
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VICKI TIMPA, INDIVIDUALLY,                             §
AND AS REPRESENTATATIVE OF                             §
THE ESTATE OF ANTHONY                                  §
TIMPA, AND CHERYLL TIMPA                               §
INDIVIDUALLY AS NEXT FRIEND                            §
OF K.T., A MINOR CHILD,                                §
      Plaintiffs,                                      §         CIVIL ACTION NO.
                                                       §
v.                                                     §         3:16-CV-03089-N
                                                       §
THE CITY OF DALLAS, JOHN DOE #1-                       §
3, LONE STARR MULTI-THEATRES,                          §
LTD D/B/A NEW FINE ARTS, JOHN                          §
DOE #4, AND JOHN DOES #5,                              §
      Defendants.                                      §
                                                       §

       DEFENDANT CITY OF DALLAS’S MOTION PURSUANT TO RULE 12(b)(6)
             TO DISMISS PLAINTIFFS’ CLAIMS ALLEGED AGAINST IT
      IN PLAINTIFFS’ FIRST AMENDED COMPLAINT, AND BRIEF IN SUPPORT

TO THE HONORABLE COURT:

         Defendant City of Dallas (the “City”), pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure, files this motion to dismiss the claims alleged against it in Plaintiffs’ First

Amended Complaint (the “Complaint”) (ECF #5).

                                    I.       SUMMARY OF MOTION

         Plaintiffs plead claims against the City pursuant to 42 U.S.C. § 1983 arising from an

incident in which unidentified Dallas Police Department officers (“the Officers”) responded to a

call on 10 August 2016 at New Fine Arts, located at 1720 West Mockingbird Lane, Dallas

Texas.

         Plaintiffs allege that the Officers deprived Anthony Timpa of his Fourth Amendment

rights by subjecting him to an unlawful seizure and excessive force and deadly force. Plaintiffs

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allege that the City is liable under 42 U.S.C. § 1983 because the City’s exercise of established

policies and customs violated Anthony Timpa’s rights to freedom from unreasonable seizure,

freedom from the use of unreasonable, unnecessary and excessive force, and freedom from the

infringement of rights to substantive due process.

        The City is entitled to dismissal of the claims pleaded against it because Plaintiffs fail to

plead facts sufficient to state a plausible claim. Plaintiffs’ well-pleaded factual allegations do not

permit this Court to draw a reasonable inference that the City is liable for its police officers’ al-

leged wrongdoing, and Plaintiffs’ Complaint omits allegations necessary to render plausible the

municipal liability claims based upon an alleged City custom. Plaintiffs’ allegations as to the

City are conclusory assertions of misconduct which are “merely consistent with” municipal

liability, and as a matter of law are insufficient to support liability. For these reasons, the City is

entitled to dismissal because Plaintiffs fail to plead a claim upon which relief can be granted.

             II.     ARGUMENT AND AUTHORITIES REQUIRING DISMISSAL

A.      Applicable Legal Standards for Rule 12(b)(6) Motions

        1.         The standard for dismissal under Rule 12(b)(6): does the complaint
                   state a valid claim for relief?

        Rule 12(b)(6) provides for dismissal of a claim if the complaint fails to state a claim upon

which relief can be granted. Washington v. United States Dep’t of Hous. & Urban Dev., 953 F.

Supp. 762, 768 (N.D. Tex. 1996). A motion to dismiss under Rule 12(b)(6) tests the legal

sufficiency of the claims stated in the complaint, and such a motion must be evaluated solely on

the basis of the pleadings. Jackson v. Procunier, 789 F.2d 307, 309 (5th Cir. 1986); see also

Morin v. Caire, 77 F.3d 116, 120 (5th Cir. 1996). “The central issue is whether, in the light most

favorable to the plaintiff, the complaint states a valid claim for relief.” Hughes v. Tobacco Inst.,

Inc., 278 F.3d 417, 420 (5th Cir. 2001) (internal quotations omitted).

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        There are two primary considerations for a court’s analysis of the propriety of a motion to

dismiss under Rule 12(b)(6). First, the allegations contained in the complaint are to be construed

in the plaintiff’s favor and all well-pleaded facts are to be accepted as true. Baker v. Putnal, 75

F.3d 190, 196 (5th Cir. 1996); Washington, 953 F. Supp. at 768. However, conclusory state-

ments in a complaint are not to be accorded a presumption of truth. Kaiser Alum. & Chem.

Sales, Inc. v. Avondale Shipyards, Inc., 677 F.2d 1045, 1050 (5th Cir. 1982); Washington, 953 F.

Supp. at 768. Therefore, conclusory allegations and legal conclusions masquerading as factual

assertions are not adequate to prevent dismissal for failure to state a claim. Fernandez-Montes v.

Allied Pilots Ass’n, 987 F.2d 278, 284 (5th Cir. 1993).

        Second, the Supreme Court held in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007),

that the factual allegations in a complaint must be specific enough to raise a right to relief above

the speculative level on the assumption that all of the allegations are true. Twombly, 550 U.S. at

555 (abrogating Conley v. Gibson, 355 U.S. 41 (1957)). That is, it is no longer sufficient that

relief could be granted under some theoretical set of facts consistent with a complaint’s allega-

tions, which was the familiar standard the Supreme Court established in Conley. Rather, under

Twombly, plaintiffs must “nudge[] their claims across the line from conceivable to plausible.”

Twombly, 550 U.S. at 570. Therefore, to survive a motion to dismiss made pursuant to Rule 12,

a complaint must contain sufficient factual matter, accepted as true, to “state a claim for relief

that is plausible on its face.” Id.

        2.       A complaint must state sufficient non-conclusory facts to permit the
                 reasonable inference that the defendant is liable.

        The Supreme Court clarified the scope and application of Twombly in Ashcroft v. Iqbal,

556 U.S. 662 (2009). Iqbal makes clear that the Twombly decision was based upon the Supreme

Court’s interpretation and application of Rule 8, which “governs the pleading standard ‘in all

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civil actions and proceedings in the United States district courts.’” Iqbal, 556 U.S. at 678 (citing

Twombly, 550 U.S. at 554 and applying Fed. R. Civ. P. 1). Therefore, Twombly’s (and Iqbal’s)

requirements apply to Plaintiffs’ allegations against the City in this case.

        The legal foundation of this motion is set out in section IV-A of the opinion of the Court

in Iqbal.    In summary, Iqbal held that the following standards apply when evaluating the

sufficiency of any federal complaint:

            The Rule 8 pleading standard “demands more than an unadorned, the-defendant-
             unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678 (citing Twombly, 550
             U.S. at 555).

            A complaint must be plausible on its face. “A claim has facial plausibility when the
             plaintiff pleads factual content that allows the court to draw the reasonable inference
             that the defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550
             U.S. at 556).

            “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the
             elements of a cause of action will not do.’” Id. (citing Twombly, 550 U.S. at 555).

            A complaint is insufficient if it merely tenders “‘naked assertion[s]’ devoid of ‘further
             factual enhancement.’” Id. (citing Twombly, 550 U.S. at 557).

The Iqbal Court stated that its decision in Twombly was supported by two principles, from which

the foregoing standards were derived. “First, the tenet that a court must accept as true all of the

allegations contained in a complaint is inapplicable to legal conclusions.” Iqbal, 556 U.S. at 663.

Thus, and critically, “[t]hreadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.” Id. (citing Twombly, 550 U.S. at 555). Second,

“where the well-pleaded facts do not permit the court to infer more than the mere possibility of

misconduct, the complaint has alleged - but it has not ‘show[n]’ - ‘that the pleader is entitled to

relief.’” Id. at 677 (applying Fed. R. Civ. P. 8(a)(2) (requiring “ a short and plain statement of

the claim showing the pleader is entitled to relief[.]”). Thus, Iqbal directs that a district court

considering a motion to dismiss “can choose to begin by identifying pleadings that, because they

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are no more than conclusions, are not entitled to the assumption of truth.” Id. at 665. Such

conclusions are not “well-pleaded” factual allegations, and do not give rise to a plausible claim

to relief.

B.      Plaintiffs’ Complaint Fails to Plead a Plausible Claim for Relief Against
        the City Under 42 U.S.C. § 1983.

        1.       Municipal liability under section 1983 generally

        A plethora of cases have expounded upon the legal standards for imposing liability on a

municipality under section 1983. The settled rule is that a municipality cannot be liable under a

theory of respondeat superior. Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001)

(citing Bd. of Comm’rs v. Brown, 520 U.S. 397, 403 (1997)). Isolated unconstitutional actions

by municipal employees will almost never trigger municipal liability. Piotrowski, 237 F.3d at

578 (citing Bennett v. City of Slidell, 728 F.2d 762, 768 n.3 (5th Cir. 1984)). Rather, and as the

Fifth Circuit emphasized in Piotrowski, to hold the City liable under section 1983, a plaintiff

must establish that the municipality’s “official policy” – not the policy of an individual city

official – was the “moving force” and actual cause of the loss of constitutional rights and any

resultant harm. Piotrowski, 237 F.3d at 578. Thus, a plaintiff must prove three elements to

fasten liability to a municipality:           a policymaker; an official policy; and a violation of

constitutional rights whose actual cause and “moving force” is the policy or custom. Id.

        The Piotrowski court reiterated that, while a municipality’s official policy “is ordinarily

contained in duly promulgated policy statements, ordinances, or regulations,” it may arise from a

custom, previously defined by the Fifth Circuit in Webster v. City of Houston as:

             a persistent, widespread practice of City officials or employees, which,
             although not authorized by officially adopted and promulgated policy, is
             so common and well-settled as to constitute a custom that fairly represents
             municipal policy.


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Piotrowski, 237 F.3d at 579 (citing Webster v. City of Houston, 735 F.2d 838, 841 (5th Cir.

1984)). However, it is not sufficient that a plaintiff simply plead the raw assertion that there was

a custom having the force of municipal policy. Piotrowski requires the plaintiff to specifically

identify the official policy (custom) that is alleged to have caused the constitutional harm:

             It follows that each and any policy which allegedly caused constitutional
             violations must be specifically identified by a plaintiff, and it must be
             determined whether each one is facially constitutional or unconstitutional.

Piotrowski, 237 F.3d at 579-80.            As will be shown below, Plaintiffs’ Complaint does not

specifically identify the City “policy” (as defined by Webster) alleged to be the moving force and

actual cause of Anthony Timpa’s alleged injuries.

        Furthermore, municipal liability under section 1983 can only arise from a custom having

the force of official policy if the municipal policymakers were deliberately indifferent to the

“‘known or obvious consequences’ that constitutional violations would result.” Piotrowski, 237

F.3d at 579. Countless Fifth Circuit decisions have explained that deliberate indifference im-

poses a strict standard of fault. For example, in Estate of Davis ex rel. McCully v. City of North

Richland Hills, 406 F.3d 375 (5th Cir. 2005), the Fifth Circuit held that “[f]or an official to act

with deliberate indifference, the official must both be aware of facts from which the inference

could be drawn that a substantial risk of serious harm exists, and he must also draw the infer-

ence.” Davis, 406 F.3d at 381 (citing Smith v. Brenoettsy, 158 F.3d 908, 912 (5th Cir. 1998)

(internal quotation marks and citations omitted). Thus, a sufficient complaint must provide ade-

quate “factual content” to make deliberate indifference by the City’s official policymakers not

merely conceivable, but plausible in the context of the facts alleged. See Iqbal, 556 U.S. at 678

(citing Twombly, 550 U.S. at 556) (“A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable


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for the misconduct alleged.”).

        2.       Plaintiffs’ factual allegations regarding Monell liability

        Plaintiffs plead their assertions regarding the City’s alleged liability in paragraphs 81 and

82 of their Complaint:

                 81.    John Does # 1, 2 and/or 3 and the City of Dallas’ exercise of
             established policies and customs violated Mr. Timpa’s rights clearly
             established under the United States Constitution to:

                          a. freedom from unreasonable seizure of their [sic] person;

                        b. freedom from the use of unreasonable, unnecessary, and
             excessive force;

                          c. freedom from infringement of rights to substantive due process;

                 82.    Alternatively, John Doe # 1, 2, and/or 3 and the City of Dallas
             violated established policies and customs, namely the forcible continuous
             pressure placed on Mr. Timpa’s back, violated Mr. Timpa’s rights clearly
             established under the United States Constitution to:

                          a. freedom from unreasonable seizure of their [sic] person;

                        b. freedom from the use of unreasonable, unnecessary, and
             excessive force;

                          c.   freedom from infringement of rights to substantive due
             process;

(Complaint at PageID 37.)

        Clearly, Plaintiffs’ allegations fall squarely within that class of conclusory allegations

described by the Supreme Court in Twombly and Iqbal as “‘naked assertion[s]’ devoid of ‘further

factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557). Plaintiffs

fail to plead any facts on which this Court could make a reasonable inference of a “persistent,

widespread practice” by Officers of unlawful seizures or uses of excessive force. Therefore,

Plaintiffs fail to plead non-conclusory facts that permit an inference of the existence of an

unconstitutional City policy under either of the two Webster definitions of “official policy.”

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Webster, 735 F.2d at 841.

        Plaintiffs’ allegation of established policies and customs (Complaint ¶ ¶ 81, 82) is no

more than a “‘naked assertion’ devoid of ‘further factual enhancement,’” and is not entitled to

any presumption of truth. Twombly and Iqbal require more than the sparse, conclusory, buzz-

word laden allegation that Plaintiffs plead.

        3.       Plaintiffs fail to plead sufficiently the existence of an official City
                 policy.

        The second of the three attribution principles for municipal liability under section 1983 is

the existence of an official policy. See Piotrowski, 237 F.3d at 578. The Complaint is deficient

in this respect. Here, the entirety of Plaintiffs’ pleading with respect to identifying a City policy

is set forth in the Complaint in paragraphs 81 and 82, recited above. In paragraph 81, the

Plaintiffs plead only that “John Doe #1, 2, and/or 3 and the City of Dallas’ exercise of estab-

lished policies and customs violated Mr. Timpa’s rights.” But the Plaintiffs never plead what the

City’s “established policies and customs” were. The Plaintiffs’ failure to identify the operative

City customs renders the Plaintiffs’ claim implausible. In Spiller v. City of Texas City, 130 F.3d

162 (5th Cir. 1997), the Fifth Circuit stated that “[t]he description of a policy or custom and its

relationship to the underlying constitutional violation, moreover, cannot be conclusory; it must

contain specific facts.” Spiller, 130 F.3d at 167 (citing Fraire v. City of Arlington, 957 F.3d

1267, 1277 (5th Cir. 1992) (requiring section 1983 plaintiffs to plead “specific facts, not merely

conclusory allegations.”)). Therefore, Plaintiffs fail to plead a plausible claim as to the City.

        Second, the Plaintiffs fail to plead any facts on which this Court could make a reasonable

inference of a “persistent, widespread practice” of unlawful seizures, the use of excessive force,

or the deprivation of amorphous “rights to substantive due process.” The Plaintiffs’ allegations

do not describe a “persistent, widespread practice” that is “so well-settled as to constitute a

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custom that fairly represents municipal policy.” The Plaintiffs fail to plead any facts whatsoever

of any other instances of similar seizures or uses of force. Instead, the Complaint refers solely to

Anthony Timpa’s encounter with the “Doe” officers, which is patently insufficient. Fraire v.

City of Arlington, 957 F.2d 1268, 1278 (5th Cir. 1992) (“Allegations of an isolated incident are

not sufficient to show the existence of a custom or policy. ‘Isolated violations are not the persis-

tent, often repeated constant violations that constitute custom and policy.’”) (quoting Bennett v.

City of Slidell, 728 F.2d 762, 768 n.3 (5th Cir. 1994)). Rather, “[t]o demonstrate a municipal

custom or policy under § 1983, a plaintiff must at least allege:”

             a pattern of similar incidents in which citizens were injured or endangered
             by intentional or negligent police misconduct and/or that serious incompe-
             tence or misbehavior was general or widespread throughout the police
             force.

Fraire, 957 F.2d at 1278 (quoting Languirand v. Hayden, 717 F.2d 220, 227 (5th Cir. 1983)).

        Third, the Plaintiffs plead no facts which, if true, would permit a reasonable inference

that the City’s final policymaker – the Dallas City Council – was deliberately indifferent to a

known or obvious risk that the City’s alleged customs would result in the deprivations of federal

rights that the Plaintiffs allege. Where a plaintiff pleads that a custom caused the deprivation of

his rights, the plaintiff must show that the municipal policymakers were deliberately indifferent

to that risk. See, e.g., Estate of Davis ex rel. McCully v. City of North Richland Hills, 406 F.3d

375, 381 (5th Cir. 2005) (“[f]or an official to act with deliberate indifference, the official must

both be aware of facts from which the inference could be drawn that a substantial risk of serious

harm exists, and he must also draw the inference.”) (internal quotation marks and citations

omitted) (citing Smith v. Brenoettsy, 158 F.3d 908, 912 (5th Cir. 1998). But here, the Plaintiffs

plead no facts that would permit such an inference. (See Complaint.)

        Clearly, the Plaintiffs’ allegations fall squarely within that class of conclusory allegations

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described by the Supreme Court in Twombly and Iqbal as “‘naked assertion[s]’ devoid of ‘further

factual enhancement.’” Iqbal, 556 U.S. at 1949 (quoting Twombly, 550 U.S. at 557). Therefore,

the Court should dismiss the Plaintiffs’ claims against the City for lack of facial plausibility.

        4.       Plaintiffs fail to plead sufficiently that the City’s customs were the
                 “moving force” and actual cause of their damages.

        The third of the three attribution principles for municipal liability under section 1983 is

that the municipality’s official policy was “moving force” and actual cause of the deprivations of

federal rights alleged. See Piotrowski, 237 F.3d at 578. As to causation, Plaintiffs fail to state

any facts. (Complaint at PageID 37.) Thus, their allegations are plainly insufficient to state a

plausible claim.

        “The allegation of a policy or custom and its relationship to the underlying constitutional

violation cannot be conclusory, but must contain specific facts.” Prince v. Curry, No. 4:09cv739-

A, 2010 WL 1062611, at *3 (N.D. Tex. Mar. 22, 2010) (citing Spiller v. City of Texas City, 130

F.3d 162, 167 (5th Cir. 1997)). Further, a “but for” connection to the deprivation of rights is not

sufficient to satisfy the causation element. See, e.g., Valle v. City of Houston, 613 F.3d 536, 546

(5th Cir. 2010) (“We have said that the connection must be more than a mere ‘but for’ coupling

between cause and effect.”) Because Plaintiffs plead no facts that would permit the Court to

make a reasonable inference that the City’s undefined policies and customs were the “moving

force” and actual cause of the Officers’ alleged misconduct, Plaintiffs have failed to state a

plausible claim. Therefore, the Court should dismiss those claims.

        In sum, Plaintiffs’ pleadings fail to contain sufficient factual content to meet any of the

three elements of § 1983 municipal liability claim. For all of these reasons, the Court should

grant this motion and dismiss Plaintiffs’ claims against the City pursuant to Rule 12(b)(6), for

failure to state a claim upon which relief can by granted.

Defendant City of Dallas’s Motion Pursuant to Rule 12(b)(6) to Dismiss Plaintiffs’ Federal
Claims Alleged Against It In Plaintiffs’ First Amended Complaint, and Brief in Support
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                                           III.     CONCLUSION

        The Plaintiffs’ allegations in their live Complaint do not state a plausible claim for relief

under 42 U.S.C. § 1983 as to the City. The Plaintiffs’ allegations are vague and conclusory, and

do not provide factual content beyond labels, conclusions, and a formulaic recitation of the

minimal elements of a § 1983 municipal liability claim. The Plaintiffs fail to allege any facts

that allow a reasonable inference that any City custom having the force of official policy was the

moving force and actual cause of Anthony Timpa’s alleged injuries. As a result of the lack of

factual content in the Plaintiffs’ Complaint, their § 1983 claim lacks facial plausibility because

the Court cannot draw the reasonable inference that the City is liable for its police officer

employees’ misconduct and damages that the Plaintiffs allege. Therefore, the City is entitled to

dismissal pursuant to Rule 12(b)(6) for failure to state a claim upon which relief may be granted.

        WHEREFORE, Defendant City of Dallas prays that the Court grant its motion to dismiss

Plaintiffs’ claims against it, and that the Court grant the City all such other and further relief to

which the City is entitled consistent with this motion.




Defendant City of Dallas’s Motion Pursuant to Rule 12(b)(6) to Dismiss Plaintiffs’ Federal
Claims Alleged Against It In Plaintiffs’ First Amended Complaint, and Brief in Support
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                                                     Respectfully submitted,

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                                                     ATTORNEYS FOR THE DEFENDANT CITY OF DALLAS

                                      CERTIFICATE OF SERVICE

        I certify that on 17 January 2017, I electronically filed the foregoing document with the
clerk of the court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”
to the following attorneys of record who have consented in writing to accept this Notice as
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Defendant City of Dallas’s Motion Pursuant to Rule 12(b)(6) to Dismiss Plaintiffs’ Federal
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